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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS



UNITED STATES OF AMERICA,

      Plaintiff,

v.

JAMES E. ROLLINS, Jr., et al,

      Defendants.                                      Case No. 05-cr-30133-DRH



                            MEMORANDUM & ORDER


HERNDON, District Judge:

                                I. INTRODUCTION

             Defendant James Rollins, Jr. (“Defendant” or “Rollins”), was indicted,

along with eleven other defendants in this case.      Rollins, in Count One of the

Indictment (Doc. 1), was charged for conspiring with co-defendants Richard Pittman,

Tamiesha Williams, Shirley Mae Pittman, James E. Rollins, Sr., John Frost, Rudy

Slack, Eric Spruill, Alan Taylor, Talia Pittman and Veronica Marshall to “knowingly

and intentionally manufacture, distribute, and possess with intent to distribute

diverse amounts of cocaine and fifty grams or more of a mixture or substance

containing cocaine base, in the form of, or commonly known as, “crack” cocaine,

both Schedule II controlled substances, in violation of Title 21, United States Code,


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Sections 841(a)(1) and 841(b)(1)(A), all in violation of Title 21, United States Code,

Section 846.”

               He was also charged in Count Five of the Indictment, along with co-

defendants Richard Pittman, James E. Rollins, Sr., John Frost and Shirley Mae

Pittman, for “knowingly and intentionally distribut[ing] five hundred grams or more

of a mixture or substance containing cocaine, a Schedule II controlled substance, in

violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(B).” The

remaining Counts in the 18-Count Indictment charge the various co-defendants with

acts of distribution of narcotics in furtherance of the alleged conspiracy for which

Rollins is charged in Count One, as well as various use of telephonic equipment in

furtherance of the conspiracy as pled in Count One.

               Defendant Rollins has filed an Amended Motion to Sever (Doc. 262),

pursuant to FEDERAL RULES OF CRIMINAL PROCEDURE 8 and 14, seeking a trial

separate from his co-defendants.1 The Government has filed its Amended Response

(Doc. 265), opposing a severance, but also requests the Court additionally consider

its initial Response (Doc. 242).          Based upon the parties’ arguments and the

applicable law, Rollins’s Amended Motion (Doc. 262) must be denied for the

following reasons.




       1
         This Amended Motion and a Motion to Sever (Doc. 251) filed by co-defendant Shirley
Pittman are near mirror images of each other and will essentially be addressed in an identical
manner.

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                                   II. ANALYSIS

A.    Legal Standard

             The joinder of multiple defendants in an indictment is allowed under

Federal Rule of Criminal Procedure 8(b) when the Government has alleged that the

defendants “have participated in the . . . same series of acts or transactions

constituting an offense or offenses.” United States v. Ras, 713 F.2d 311, 315 (7th

Cir. 1983)(quoting Fed. R. Crim. P. 8(b) and citing United States v. Garza, 664

F.2d 135, 142 (7th Cir. 1981), cert. denied, 455 U.S. 993, 102 S. Ct. 1620

(1982)). As in Ras, the Defendants in this case appear to have been properly joined

in a single indictment as “[a]ll counts of the indictment [deal] with acts committed

by the defendants in furtherance of a single, ongoing conspiracy. The charge of

conspiracy in Count 1 serve[s] to link the substantive counts against the various

defendants . . . satisf[ying] the relatedness requirement of Rule 8(b) and justif[ying]

joinder.” Id.

             Once it is determined that the defendants have been joined in

accordance with Rule 8, the moving defendant may only be entitled to a severance

pursuant Rule 14 if proven that this joinder will be prejudicial to that defendant, as

joint trials (when dealing with charges such as conspiracy) are generally favored for

their efficiency. Id. (citing United States v. Tanner, 471 F.2d 128, 137 (7th Cir.

1972)); see also United States v. Williams, 858 F.2d 1218, 1223 (7th Cir.

1988); United States v. Sophie, 900 F.2d 1064, (7th Cir. 1990). In fact, this is


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a “heavy burden” for the moving defendant to establish, as it is not enough to merely

show “that a separate trial would result in a better chance acquittal . . . .” Williams,

858 F.2d at 1224 (citing United States v. Moschiano, 695 F.2d 236 (7th Cir.

1982)). Instead, the moving defendant must demonstrate that he or she would be

unable to obtain a fair trial without a severance. United States v. Lopez, 6 F.3d

1281, 1285 (7th Cir. 1993).

B.    Severance

             In his Motion, Rollins offers several different conclusory bases for

granting a severance. First, he states that his “co–defendants can offer critical

exculpatory evidence and testimony on [his] behalf,” but that at a joint trial, he will

be prevented from calling them as witnesses due to their privilege against self-

incrimination (Doc. 262, ¶ 1), as well as “it is believed that one or more co-

defendants may give testimony favorable to [him] if he obtains a separate trial” (Id.

at ¶ 6). Additionally, Rollins argues that his defense may be dependent on testimony

from co-defendants (Id. at ¶ 2). When a moving defendant offers such grounds for

severance, a district court must consider three factors: (1) whether the co-

defendant’s testimony would be exculpatory; (2) whether the co-defendant would

testify; and (3) whether the testimony would bear on the defendant’s case. Id.

             In this case, Rollins has offered absolutely nothing of substance to

bolster his assertions – at best, the issue of whether his co-defendants would testify

with exculpatory information on his behalf remains entirely speculative. Yet, it is a



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requirement in the Seventh Circuit that the moving defendant provide some

evidentiary support regarding the possibility of co-defendant exculpatory testimony,

“such as an affidavit or recorded testimony,” otherwise a severance “cannot be

granted on the basis of a vague, unsupported assertion that a co[-]defendant would

testify favorable in a separate proceeding.” United States v. Studley, 892 F.2d

518, 525 (7th Cir. 1989)(quoting United States v. Andrus, 775 F.2d 825, 847

(7th Cir. 1985)). Thus, the Government is correct in its assertion that Rollins has

failed in meeting his burden in this regard to warrant a severance.

             A second basis for severance offered by Rollins is that his co-defendants

may have “mutually exclusive defenses requiring the conviction of one and the

acquittal of the other,” and that the attorneys for co-defendants “could make adverse

inferences” about his post-arrest silence or decision not to testify” (Doc. 262, ¶¶ 3 &

7). Likewise, if a co-defendant does decide to testify on his or her own behalf, Rollins

fears he would either then be forced to testify on his own behalf or have the jury

make an adverse inference from his silence (Id. at ¶ 4). A jury, argues Rollins, may

not be able to “compartmentalize the evidence as it relates to the separate

Defendants in order to make an independent determination of guilt” (Id. at ¶ 5).

             However, “mutually antagonistic defenses,” as postulated by Rollins, are

not enough to warrant a severance absent a showing of “prejudice to some specific

trial right.” United States v. Mietus, 237 F.3d 866, 873 (7th Cir. 2001)(internal

citations omitted). In fact, juries are typically “presumed capable of sorting through



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the evidence and considering the cause of each defendant separately” – even when

there are multiple counts in an indictment.        Williams, 858 F.2d at 1225.

Therefore, absent any showing whatsoever by Rollins, the Court again finds that the

Government’s position prevails and a severance is not warranted on these grounds

either.

             Even considering grounds for severance as laid out in Bruton v. United

States, 391 U.S. 123 (1968), the Court cannot find, at this time, that Rollins has

truly shown any cause for concern.         Bruton held that a defendant’s Sixth

Amendment right to confront witnesses can be violated when the confession or

statement of a co-defendant, directly implicating the other defendant, is admitted at

trial and the co-defendant cannot be cross-examined about this implication due to

the Fifth Amendment privilege against self-incrimination. Id. at 126-27. In its

Response, the Government cites several United States Supreme Court, as well as

Seventh Circuit cases which allow a district court the discretion to admit into

evidence at trial, a co-defendant’s post-arrest statement or confession that has been

redacted in order to remove any references which may implicate the moving

defendant (Doc. 242, p. 5). Because the Government does not directly state that it

intends to use such evidence and that it would redact implicating reference to

Rollins, the Court therefore advises that should the Government become aware of a

statement or confession of a co-defendant which would serve to implicate Rollins,

then the matter should be brought to the Court’s attention as soon as possible in



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order to determine whether a severance is needed.

             As far as the argument Rollins makes that a separate trial is necessary

to protect against the possibility that co-defendants’ attorneys may comment upon

or make adverse inference regarding his failure to testify, the Court reminds him that

such behavior by any other counsel would be considered a violation of his Fifth

Amendment privilege against self-incrimination. See, e.g., United States v. Butler,

71 F.3d 243, 254 (7th Cir. 1995)(citing Griffin v. California, 380 U.S. 609, 85

S. Ct. 1229, 14 L. Ed. 2d 106 (1965)). Rollins could then be protected by the

Court’s ability to then determine whether he, in fact, received a fair trial, in light of

this constitutional violation. Id. at 254-55. Currently, his concern amounts to

nothing more than mere speculation, which cannot be deemed reason enough to

sever him trial from his co-defendants.

                                  III. CONCLUSION

             Because defendant James E. Rollins, Jr., has failed to meet the requisite

burden to show why a severance would be warranted pursuant to Rule 14, his

Amended Motion (Doc. 262) must be DENIED.

             IT IS SO ORDERED.

             Signed this 18th day of December, 2006.

                                                        /s/       David RHerndon
                                                        United States District Judge




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